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UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

 

Hon. Bennie G. Thompson, in his personal capacity

Plaintiff
Case No.: 1:21-cev-00400-APM

VS.
Donald J. Trump, solely in his personal capacity, et al.

Defendant(s)
AFFIDAVIT OF SERVICE

 

I, Gregory Brown, a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Summons and Complaint in the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this action.

That on 03/02/2021 at 1:47 PM, I served Oath Keepers c/o Silver State Legal, Registered Agent at'4625 West Nevso Drive, Suite 2
& 3, Las Vegas, Nevada 89103 with the Summons and Complaint by serving Zach Erdwrum, Agent, authorized to accept service
on behalf of Silver State Legal.

Zach Erdwrum is described herein as:

Gender: Male Race/Skin: White Age: 25 Weight: 140 Height: 5'6" Hair: Brown Glasses: No

I declare under penalty of perjury that this information is true and correct.

 

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Executed On
Client Ref Number:65390-001

Job #: 1586528

 

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050
